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           EXHIBIT 5
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                                            Volume 13

                                            Pages 2101 - 2142

                    UNITED STATES DISTRICT COURT

                   NORTHERN DISTRICT OF CALIFORNIA

Before The Honorable Vince Chhabria, Judge

EDWARD HARDEMAN,                   )
                                   )
           Plaintiff,              )
                                   )
  VS.                              )    NO. C 16-00525 VC
                                   )
MONSANTO COMPANY,                  )
                                   )
           Defendant.              )
                                   )

                               San Francisco, California
                               Thursday, March 14, 2019

                      TRANSCRIPT OF PROCEEDINGS

APPEARANCES:

For Plaintiff:
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                    BYs   JENNIFER MOORE, ATTORNEY AT LAW



            (APPEARANCES CONTINUED ON FOLLOWING PAGE)



REPORTED BY:     Marla F. Knox, RPR, CRR
                 Official Reporter
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 1   APPEARANCES:     (CONTINUED)

 2   For Defendant:

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 6                            JULIE RUBENSTEIN, ATTORNEY AT LAW

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                                        PROCEEDINGS

 1   Thursday - March 14, 1995                                 12:35 p»in.

 2                              PROCEEDINGS

 3                                        --000--

 4        (Proceedings were heard out of presence of the jury:)

 5              THE CLERK:      Calling Civil Matter 16-525, Hardeman v.

 6   Monsanto, et al.

 7        If parties could please come forward and state their

 8   appearances for the record.

 9              THE COURT:      Don't worry about it.     We all know who

10   each other is at this point.

11        Okay.     So let me       let me write a list of things that we

12   need to discuss.     So we have Benbrook.        We have the design

13   defect issue.     We have the Seralini study.        I feel like I'm

14   missing one thing.      No?

15              MS. MOORE:      I don't think so, Your Honor.     The only

16   other thing       and this can probably come in with the Seralini

17   studies.     We wanted to ask for some clarification on the

18   post-use corporate conduct rulings from yesterday, but I think

19   that can come up when we are talking about Seralini as well.

20              THE COURT:      Okay.     Post-use corporate conduct rulings

21   from yesterday.     Oh, on the motion in limine.

22              MS. MOORE:      Yes, Your Honor.

23              THE COURT:      All right.     So Benbrook I think is easy.

24   I don't need to hear any further argument on it.

25        The three       the       the first three items that       that you
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 1   propose to have Benbrook testify about,         I do not think are

 2   properly the subject of expert testimony.         They are a factual

 3   narrative.     The information that you say you want to get out of

 4   Benbrook, you should be able to or should have been able in

 5   deposition       been able to get that information out of fact

 6   witnesses.     So Benbrook will not be allowed to testify on those

 7   three topics.

 8        I also think it is highly unlikely that Benbrook is

 9   qualified to testify on those three topics, but I don't think

10   it matters because I don't think they are the subject of expert

11   testimony.

12        The fourth topic it seems would be the proper subject of

13   expert testimony, but I don't see how Benbrook is qualified as

14   an expert on that topic.         So I want to     if you want to kind

15   of point me to something in his qualifications that I might

16   have missed, you know,      feel free to do that.     But that's really

17   the only thing that I would want to discuss about Benbrook.

18               MS. WAGSTAFFs   All right.     May I confer with my

19   cocounsel for just one minute?

20               THE COURT:   Of course.

21        (A brief pause was had.)

22               MS. WAGSTAFF:   All right.     In light of Your Honor's

23   comments.    and to avoid spending much more time on this.

24   Plaintiffs will withdraw Dr. Benbrook.

25               THE COURT:   Okay.     So that means that Mills is not
